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                                                                            11/06/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 PATRIARCH PARTNERS MANAGEMENT
 GROUP, LLC,

                                 Plaintiff,                  1:20-cv-06860 (ALC)
                     -against-                               ORDER
 UI ACQUISITION HOLDING CO., ET AL.,

                                 Defendants.

ANDREW L. CARTER, JR., United States District Judge:

       The Court is in receipt of Defendants’ notice that the United States Bankruptcy Court

for the District of Delaware entered a Stay Order in the Chapter 11 bankruptcy proceedings

underlying the instant proceedings, In re Zohar III, No. 18-10512 (KBO) (Bankr. D. Del.),

extending the automatic stay to the above-captioned action. ECF No. 19. Plaintiff consents to

the automatic stay of these proceedings for so long as the Stay Order is in effect. Accordingly,

the Court hereby orders that all proceedings in these actions are STAYED.

       The Parties are hereby ORDERED to file a joint status report no later than February 4,

2021 advising the Court of the status of the underlying Chapter 11 bankruptcy proceedings,

including the Stay Order.

SO ORDERED.

Dated: November 6, 2020
       New York, New York
                                               ___________________________________
                                                     ANDREW L. CARTER, JR.
                                                     United States District Judge
